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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  BRUCE RUSH, as a participant in and on
  behalf of the Segerdahl Corporation
  employee stock ownership plan, and on
  behalf of a class of all others who are
  similarly situated,
                    Plaintiff,                                 Case No.: 1:19-cv-00738
  v.                                                         Judge Andrea R. Wood
                                                           Magistrate Judge Susan E. Cox
  GREATBANC TRUST COMPANY;
  MARY LEE SCHNEIDER; RICHARD
  JOUTRAS; RODNEY GOLDSTEIN;
  PETER MASON; ROBERT CRONIN;
  JOHN DOE DEFENDANTS 1-10; and
  SEGERDAHL CORP. (d/b/a SG360),
                    Defendants.

               DEFENDANTS’ UNOPPOSED MOTION FOR
 EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD & OTHER RELIEF

        Defendants GreatBanc Trust Company, Peter Mason, and Segerdahl Corp. d/b/a SG360°

(“Defendants”), by and through their attorneys, Charles F. Seemann III (pro hac vice application

forthcoming) and Sarah J. Gasperini of Jackson Lewis, P.C., move this court for an extension of

time to and including April 19, 2019 to answer or otherwise plead and to re-set the parties’ initial

status hearing to a date thereafter convenient for the Court. In support of this unopposed motion,

Defendants state:

          1.    On February 5, 2019, Plaintiff filed a complaint on behalf of himself and others

similarly situated seeking redress against Defendants for claims arising under the Employee

Retirement Income Security Act. (Doc. 1.)

          2.    On or about February 15, 2019, Plaintiff served the complaint upon GreatBanc

Trust Company. GreatBanc’s responsive pleading is thus due on March 8, 2019.
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         3.     On or about February 16, 2019, Plaintiff served the complaint upon Peter Mason.

Mr. Mason’s responsive pleading is thus due on March 11, 2019.

         4.     On or about February 26, 2019, Plaintiff served the complaint upon Segerdahl

Corp. d/b/a SG360°. Segerdahl’s responsive pleading is thus due on March 19, 2018.

         5.     The remaining defendants have not yet been served.

         6.     The parties are currently set to appear for an initial status hearing on April 9, 2019.

(Doc. 8.)

         7.     Defendants’ counsel has recently been retained and requires additional time to

investigate Plaintiff’s claims and prepare the served Defendants’ responsive pleadings.

         8.     Additionally, Defendants’ counsel is working to contact defendants not yet served

regarding the possibility of a joint defense.

         9.     On March 6, 2019, Defendants’ counsel contacted Plaintiff’s counsel, James

Bloom, seeking at least a 30-day extension of the served Defendants’ time to answer or otherwise

plead and to make Defendants’ responsive pleading deadline uniform. Plaintiff’s counsel does

not oppose these requests.

       10.     This motion is not brought for purposes of delay and will not prejudice the parties.

       11.     This is the first extension of time that Defendants have sought in this matter.

       WHEREFORE, Defendants, GreatBanc Trust Company, Peter Mason, and Segerdahl Corp

d/b/a SG360° respectfully request that the Court enter an order extending their deadline to file their

respective responsive pleadings to and including April 19, 2019 and resetting the Parties’ April 9,

2019 status date to a later date convenient for the Court.




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Dated: March 7, 2019                 Respectfully submitted,

                                     GREATBANC TRUST COMPANY, PETER
                                     MASON, AND SEGERDAHL CORP. D/B/A
                                     SG360°

                                      /s/ Sarah J. Gasperini

                                     Sarah J. Gasperini (local counsel)
                                     JACKSON LEWIS P.C.
                                     150 N. Michigan Ave., Suite 2500
                                     Chicago, Illinois 60601
                                     Tel: 312.787.4949
                                     Fax: 312.787.4995
                                     Email: Sarah.Gasperini@jacksonlewis.com

                                     Charles F. Seemann III (PHV application forthcoming)
                                     JACKSON LEWIS P.C.
                                     650 Poydras Street, Suite 1900
                                     New Orleans, Louisiana 70130
                                     Tel: 504.208.1755
                                     Fax: 504. 208.1759
                                     Email: Charles.Seemann@jacksonlewis.com




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                                CERTIFICATE OF SERVICE

         I, Sarah J. Gasperini, certify that on March 7, 2019, I caused the foregoing UNOPPOSED

MOTION FOR EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD &

OTHER RELIEF to be filed with the Court by electronic filing protocols, and that same will

therefore be electronically served upon all attorneys of record registered with the Court’s ECF/CM

system.

                                                    /s/ Sarah J. Gasperini




4813-0385-1913, v. 1




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